

Matter of Perlbinder Holdings LLC v Perlmutter (2021 NY Slip Op 06061)





Matter of Perlbinder Holdings LLC v Perlmutter


2021 NY Slip Op 06061


Decided on November 04, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 04, 2021

Before: Gische, J.P., Mazzarelli, Shulman, Pitt, Higgitt, JJ. 


Index No. 159819/19 Appeal No. 14529 Case No. 2020-03079 

[*1]In the Matter of Perlbinder Holdings LLC, Petitioner-Appellant,
vMargery Perlmutter et al., Respondents-Respondents.


Akerman LLP, New York (Richard G. Leland of counsel), for appellant.
Georgia M. Pestana, Corporation Counsel, New York (Lorenzo Di Silvio of counsel), for respondents.



Judgment (denominated an order), Supreme Court, New York County (Arthur Engoron, J.), entered July 2, 2020, denying the petition to annul and vacate respondents' determination, dated March 19, 2019, which denied petitioner's application for a variance, and dismissing the proceeding brought under CPLR article 78, unanimously affirmed, without costs.
The determination denying petitioner's application for a variance was not arbitrary and capricious. Respondents had a rational basis for finding that petitioner's application, to legalize a nonconforming advertising sign, contained inconsistent and confusing factual claims concerning the location of the sign. Petitioner's attempt to obfuscate a fact harmful to their application caused the Department of Buildings to erroneously issue a permit that was later revoked. Thus, respondents reasonably concluded that petitioner had failed to establish good-faith reliance on the erroneously issued permit (see Matter of Perlbinder Holdings, LLC v Srinivasan, 27 NY3d 1, 9 [2016]).
We have considered petitioner's remaining contentions and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 4, 2021








